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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

DENNIS P. RIVERO,

       Plaintiff,

v.                                                                      Civ. No. 16-318 JB/SCY

BOARD OF REGENTS OF
THE UNIVERSITY OF NEW MEXICO,

       Defendant.

                                              ORDER

       THIS MATTER is before the Court on Plaintiff’s Motion to Compel (Doc. 137). The

Court held a hearing on this motion on February 15, 2018. Doc. 181. At the hearing, the Court

entered oral rulings on the record. Id. For the reasons stated on the record, Plaintiff’s Motion to

Compel (Doc. 137) is granted in part and denied in part. Each party shall bear its own costs and

expenses.

       IT IS SO ORDERED.



                                                      ___________________________________
                                                      UNITED STATES MAGISTRATE JUDGE
